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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


 JENNIFER SMITH,

                    Plaintiff,

 v.                                            Case No: 6:24-cv-457-PGB-RMN

 FLORIDA AGRICULTURAL &
 MECHANICAL UNIVERSITY
 BOARD OF TRUSTEES,

                    Defendant.
                                       /

                                      ORDER

       This cause comes before the Court on Defendant Florida Agricultural &

 Mechanical University’s (“Defendant”) Time Sensitive Opposed Short Form

 Discovery Motion (Doc. 56 (the “Motion”)) and Plaintiff’s Response thereto (Doc.

 57 (the “Response”)). Upon consideration, Defendant’s Motion, which seeks

 either a stay of discovery or a protective Order as to certain discovery requests, is

 due to be denied. (See Doc. 56). However, the Court, sua sponte, grants Defendant

 an extension of time for responding to the subject discovery requests.

 I.    BACKGROUND

       On April 10, 2024, Magistrate Judge Robert M. Norway issued a Report

 recommending that this Court find that Defendant has not been properly served

 with process in this case. (Doc. 40 (the “Report”)). Subsequent to this ruling, on
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 April 23, 2024, Plaintiff served extensive discovery requests upon Defendant (Doc.

 56-1 (the “discovery requests”)).

       In the Motion, Defendant seeks either (1) the entry of a protective order

 directing that Defendant need not answer these discovery requests, or (2) a stay of

 discovery in this matter. (Doc. 56, p. 1). In support of the Motion, Defendant cites

 the Report’s finding that the Court lacks jurisdiction over Defendant in this matter.

 (Id. at p. 2). While the Motion remained pending, the instant Court adopted and

 confirmed the Report in full. (See Doc. 60). However, and importantly, on May 31,

 2024, Defendant filed a Notice indicating that, as of May 31, 2024, Defendant

 voluntarily accepted service of process in this matter. (Doc. 62).

 II.   DISCUSSION

       A.     “Time Sensitive” Filings

       As a preliminary matter, the Court notes the repeated use of the label “time

 sensitive” in the parties’ recent filings. (See Docs. 54, 56, 58). The Court

 appreciates that, from the parties’ perspectives, their requests feel “time sensitive.”

 But when a party files a “time sensitive” motion, the Court stops whatever it is

 doing to address the matter. Therefore, when a matter that is not time sensitive is

 presented as such, it wastes the Court’s time. Further, the Court will not treat a

 motion as “time sensitive” when the relevant time constraints are occasioned by

 the movant’s own delay. (See Doc. 56).

       Here, Defendant was already aware of the Magistrate Judge’s finding in the

Report that Defendant had not been properly served with process in the matter at



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 the time that it received the discovery requests. (See Doc. 40; Doc. 56-1). However,

 as Plaintiff notes in her Response, Defendant waited until the day before its

 deadline for responding to the discovery requests before moving for a “time

 sensitive” stay of discovery. (See id.; Doc. 57, p. 3). Now, Defendant asks the Court

 to address the matter in a “time sensitive” fashion despite failing to do so itself.

 (See Doc. 56).

        As a result of the foregoing, the parties are cautioned to only caption a

 motion as “time sensitive” when the motion specifically addresses circumstances

 that genuinely warrant it. The failure to comply with this advisement by continuing

 to file motions as “time sensitive” when this designation is not warranted may

 result in the imposition of sanctions. See Local Rule 3.01(e).

        B.      Request for a Stay of Discovery or for a Protective Order

        It is a “bedrock principle” that “[a]n individual or entity named as a

 defendant is not obliged to engage in litigation unless notified of the action, and

 brought under the court’s authority, by formal [service of] process.” Murphy

 Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347 (1999); see also

 Pardazi v. Cullman Med. Ctr., 896 F.2d 1313, 1317 (11th Cir. 1990) (“Service of

 process is a jurisdictional requirement: a court lacks jurisdiction over the person

 of a defendant when that defendant has not been served.”). 1


 1   Moreover, a district court “has broad discretion to stay proceedings as an incident to its power
     to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). District courts
     frequently employ this discretion to stay discovery in cases where the court’s jurisdiction over
     the matter has been called into doubt. See, e.g., Abercrombie & Fitch Stores, Inc. v. Texas
     Fixture Installers, No. 3:09-cv-860-J-TEM, 2010 WL 2465185, at *1–2 (M.D. Fla. June 9,



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        On May 31, 2024, Defendant voluntarily accepted service of process in this

 matter. (Doc. 62). Accordingly, because the arguments in Defendant’s Motion are

 premised upon this Court’s lack of jurisdiction over Defendant, the relief requested

 in the Motion is no longer warranted. (See id.). However, given the circumstances,

 and the fact that Defendant only formally accepted service of process in this matter

 on May 31, 2024, the Court finds good cause to sua sponte grant Defendant an

 extension of time for responding to the discovery requests. See FED. R. CIV. P. 6(b);

 (Doc. 56-1).

 III.   CONCLUSION

        Therefore, it is ORDERED as follows:

        1.      Defendant’s Opposed Short Form Discovery Motion (Doc. 56), which

                requests a stay of discovery or, in the alternative, a protective Order

                as to Plaintiff’s discovery requests (Doc. 56-1), is DENIED.

        2.      However, the Court sua sponte grants Defendant an extension of time

                for responding to Plaintiff’s discovery requests (Doc. 56-1). Defendant

                shall respond to these discovery requests on or before July 1, 2024.

        DONE AND ORDERED in Orlando, Florida on June 4, 2024.




    2010); Latell v. Triano, No. 2:13-cv-565-FtM-29CM, 2014 WL 5822663, at *1–2 (M.D. Fla.
    Feb. 28, 2014).



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 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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